4/17/2020 Case.net: 20BA-CV00395 - Docket Entries

 

 

_ net
searon for Cases by: | Select Search Method... = -V
Judicial Links | eFiling | Help | ContactUs | Print GrantedPublicAccess Logoff NICHOLECALDWELL

 

SOI At Ou

 

 

 

 

 

“Case | Parties & ) Docket | Charges, Judgments | Service | Filings | Scheduled {Civil |” Garnishments! |
Header | Attorneys | Entries & Sentences Information; Que Hearings & Trials | Judgments Execution

This information is provided as a service and is not considered an official court record.

 

 

Sort Date Entries: ‘©: Display Options: .. ..
Descending AllEntries OY,
©) Ascending

Click here to eFile on Case
Click here to Respond to Selected Documents

04/16/2020 ... Order
Plaintiff's Motion to Substitute filed 4/6/20 is reviewed and granted. JHJ/I (gw)
Associated Entries: 04/06/2020 - Motion Filed 2

04/06/2020 :_: Note to Clerk eFiling

L Motion Filed
Plaintiffs Motion to Substitute the City of Columbia, Missouri as a Defendant and to add School
Resource Officer Tony Ash as a Defendant; Electronic Filing Certificate of Service.
Filed By: DANIEL L VIETS
On Behalf Of: ANIVIA ZENNA LAKIS BRANTLEY, KANDAS D HOLMES-BARNES
Associated Entries: 04/16/2020 - Order it

| Application Filed
Petition for Appointment of Next Friend for Infant, A B, in Civil Suit and to Waive Bond Requirement;
Electronic Filing Certificate of Service.

» Entry of Appearance Filed
Entry of Appearance; Electronic Filing Certificate of Service.

03/09/2020 ‘) Order

Plaintiff appears by Viets who orally enters his appearance. Defendant Columbia Police Department
appears by Baker, Defendant Columbia Public School System by Smith. Plaintiff is given 30 days to file
amended or substitute pleadings. JHJ (ms)

Associated Entries: 02/25/2020 - Hearing Scheduled ih
Scheduled For: 03/09/2020; 9:00 AM; J. HASBROUCK JACOBS: Boone

02/25/2020 ©. Hearing Scheduled
(ms)
Associated Entries: 03/09/2020 - Order #4
Scheduled For: 03/09/2020; 9:00 AM; J. HASBROUCK JACOBS; Boone

02/24/2020 ‘!} Notice of Hearing Filed

Notice of Hearing on Defendants Motions to Dismiss; Electronic Filing Certificate of Service. As to
03/09/2020 09:00 a.m. Division I. (ms)

Filed By: DAVID STEPHEN BAKER
On Behalf Of: COLUMBIA PUBLIC SCHOOL SYSTEM, COLUMBIA POLICE DEPARTMENT

 

02/18/2020 (: Motion to Strike
Columbia Public School Systems Motion to Strike; Electronic Filing Certificate of Service. (ms)
https://www.courts.mo.gov/casenet/cases/searchDockets.do EXHIBIT 2 1/2

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 1 of 54
 

 

 

4117/2020 Case.net: 20BA-CV00395 - Docket Entries
Filed By: JILL ELLEN FROST
On Behalf Of: COLUMBIA PUBLIC SCHOOL SYSTEM
CJ Suggestions in Support
(ms)
Filed By: JILL ELLEN FROST
J Motion to Dismiss
Columbia Public Schoo! Systems Motion to Dismiss; Electronic Filing Certificate of Service. (ms)
Filed By: JILL ELLEN FROST
02/13/2020 (.) Suggestions in Support
(ms)
Filed By: DAVID STEPHEN BAKER
On Behaif Of: COLUMBIA POLICE DEPARTMENT
(J Motion to Dismiss
Defendant Columbia Police Departments Motion to Dismiss. (ms)
Filed By: DAVID STEPHEN BAKER
02/06/2020 ..: Note to Clerk eFiling
(ms)
‘| Notice of Service
ANIYIA BRANTLEY VS COLUMBIA POLICE DEPARTMENT 20BA-CV00395. (ms)
} Corporation Served
Document ID - 20-SMCC-69; Served To - COLUMBIA POLICE DEPARTMENT: Server - SO SHERIFF
OF BOONE COUNTY - COLUMBIA; Served Date - 04-FEB-20; Served Time - 10:09:00; Service Type -
Sheriff Department; Reason Description - Served; Service Text - Served to Jessica Harris - Human
Resources (ms)
02/05/2020 Notice of Service
ANIYIA BRANTLEY VS COLUMBIA PUBLIC SCHOOL SYSTEM 20BA-CV00395. (ms)
«J Summons Personally Served
Document ID - 20-SMCC-68; Served To - COLUMBIA PUBLIC SCHOOL SYSTEM: Server - SO
SHERIFF OF BOONE COUNTY - COLUMBIA; Served Date - 30-JAN-20; Served Time - 14:26:00:
Service Type - Sheriff Department; Reason Description - Served (ms)
01/28/2020 _.) Summons Issued-Circuit
Document ID: 20-SMCC-69, for COLUMBIA POLICE DEPARTMENT. Clerk sent for service by the
Boone County Sheriff's Office this date. (ms)
(1 Summons Issued-Circuit
Document ID: 20-SMCC-68, for COLUMBIA PUBLIC SCHOOL SYSTEM. Clerk sent for service by the
Boone County Sheriffs Office this date. (ms)
01/27/2020 (|) Confid Filing Info Sheet Filed
: Confidential Case Filing Information Sheet. (ms)
() Pet Filed in Circuit Ct
J Judge Assigned
Case.net Version 5.14.0.17 Return to Top of Page Released 11/25/2019
https://www.courts.mo.gov/casenet/cases/searchDockets.do 2/2

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 2 of 54
IN THE CIRCUIT COURT OF BOONE COUNTY, MISSOURI

A.B BY HER NEXT FRIEND
KANDAS HOLMES-BARNES,

Plaintiff,

AN
7
MEA Cues GARIsry £029

)
)
)
vs. Case No. .
) “Hs Cc gle
FCO RE
COLUMBIA PUBLICSCHOOL _ ) IBA yp
AND COLUMBIA POLICE )
DEPARTMENT. )
)
Defendant. )
PETITION FOR DAMAGES

 

COMES NOW Plaintiff A.B by and through her mother and her next friend,
Kandoas Holmes-Barnes, and for her. Petition and Apllication for Petition of Civil Suite.
State and alleges the following:

1. Plaintiff A.B., a minor fourteen years of age, and her mother next friend
Kandas Holmes-Barnes, are residents of Columbia, Missouri, Boone County.

2. Defendant is a Columbia Public School, and its registered office is located
at 1818 W. Worley Street Columbia, Missouri 65203. Defendant is Columbia Police
Department, and its registered office is located at 600 E. Walnut Street Columbia,
Missouri 65201. Defendant is the owner manager, and/or developer of the property
located at 1818 W. Worley Columbia, Missouri and 600 E. Walnut Columbia, Missouri.

3. Venue is proper in Columbia, Missouri under Section 508.010 RSMO,
because this cause of action accrued in Columbia, Missouri.

4. On or about January 10, 2019, Plaintiff A.B was falsely arrested for a crime
she didn’t commit, at Smithton Middle School due to falsified information made up

from the teachers and principal Chris Drury, Lindsey Gash, Paula (Doe),

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 3 of 54
Chris Collens (a Student) and Sterling Brown verbally saying it was her, she was
handcuffed, humiliate discriminated against false imprisonment, racially profiled, false
CPS report, wrong doing, Cyber bullying, hate crimes, suicidal attempts, negligence,
emotional distress, learning disability, Slander, Malicious prosecution, racially profiling,
Finger printed, Juvenile Center she was sprayed bumpy skin now, they made her wear
used under garments that gave her a yeast infection even after being released the next
day suspended for ten (10) days, Bullied, hate crimes not once but twice. As a result,
Plaintiff suffered injuries.

5. Plaintiff has made a claim against Defendant as a result of the aforesaid
incident, and in order to resolve the issues between the parties it should be approval of
this court and only upon condition of such approval, to settle Plaintiffs claims against
Defendant for the total sum of $2.4 million dollars.

6. Counsel for plaintiff, Nimrod T. Chapel Jr., Rufus J. Tate Jr. shall be
reimbursed for attorney fees in the amount [> and for necessary prepaid
costs in the amount of $ Cc 2 .

7. Plaintiff shall pay for outstanding third-party liens and medical bills to the
following medical providers (to be determined).

8. The remaining amount $2.4 million shall be made payable to Kandas
Holmes-Barnes as mother and next friend of A.B. to be placed in a restricted account.

9. After a full and complete investigation of the facts and circumstances, and
taking into consideration the nature of said incident and the disputed liability, next
friend believes it is in the best interest and to the advantage of Petitioner to accept said

offer of compromise and settlement, subject to the approval of this court.

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 4 of 54
10. Next friend request leave to Waive a Jury herein and submits all of the
issues of this proposed settlement contract to receive a verdict for a sum greater then
equal to or less then the settlement accepted.

WHEREFORE, Kandas Holmes-Barnes, mother and Next Friend of A.B., a minor
prays the court to authorize her to Waive a Jury herein, to determine the issues in this
case, and to enter its Order Finding, adjudging and decreeing as follows:

(a) the settlement agreement is proper and in the best interest of A.B.

(b) Kandas Holmes-Barnes shall execute and file with this court a receipt for the
total sum of $y - Ub WA\\ Br the claim of A.B

(c) Kandas Holmes-Barnes shall execute a release and satisfaction of Judgment
binding upon A.B. releasing and discharging defendant. Columbia Public Schools and
Columbia Police Department of all liability to said minor and any insured under
applicable insurance policies on account of the occurrence and matters described in the
Petition and Application.

(d) This court shall enter such further orders as it may deem proper.

ws ond an be lanon- Praafr0o
Kandas Hoimes-sarnes

1706 Telluride Ln.

Columbia, MO 65201

(573) 256-9785

kandasbarnespsma@gmail.com

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 5 of 54
FILED

BOONE COUNTY . ”
JAN 27 e029

_ CHRISTY BLAK
PX \ oS Leer ae ONG

| oF NAckis ‘css

SarNy Snenmgh SERS

  
 

4 TS Doan MN Gan Sean
Ao Ses SAREE SF RERAES
E BQ SOSH Nas \oau

, SS &B OD

 

ESS REE REE LS
= SS
Sen te AN Capra

SS ce CaS Ase Assad Sok \

SS
S&S ned ce

es NSS OX ae SQ
= on Boe TB Aad cS SOR SkTON

Woteas OCEAN) Sy Srkaso OD
SOS Ae) SS Asan
TS ‘OQ. ww \GA& ON eae SO Mus

was akROAk VW Lan Wo

RS Sage SS GINS Re SRSESERS

 

 

 

No ROS, SS OSS DS QaSonar dy

' Case 2:20-cv-04061-MDH ~ AS 1-2 Filed 04/17/20 oy of 54

| Ne ‘s Nos bs. se |
‘Leds MLR SL OY eaerrasnr Yo
as GO a Aack, YS wdasr San &

Se a

  

=e Qe eo

3 Woes SS Oe Sass Sse GdaASD

SSD ASASS_ we mS :
PU SSAA, Wan Aad SSA io 3

Nese cg San SOS SS Se ae :

an sis os op eee te

F apse on lous Krein Tr has s

A Kew trpmoe lol

SER olor ay a s
prsa. ua Polen -) aver ADOvo5,
4

YOorArenLins, S ne BX ane , Now oS. vs
LOee oD “M Kesras ot a. OMD

ges TAqhsS uy. GSRe es
Rees 8 “SX Ast

  
  

 

: Se “3 “S QS sQer. Be !
| Ove AWrasiay, noo Sy SOM
“™ NSaass—\ SBgQasso Gr TEENS, nd :

STEM) Mes ASK SD NEL SL A
SY Cae “No WSeG UV Ass, .
Ds oe eEED Oo SAW . Yass, “NO Wada !

 

 

 

 

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 7 of 54
ee

A OS QsSaion SS WOO
piven Qoan S Vari in. oS Ss Srech

we BS Usca Dea Sheed HP “ty
Conkoues TO Stand wp, and disk few
nor snl me our ot

TWD

| \Graso los We phe
Own ' 6 Csttinuse fo
AW OL Kr COD het snr L

 

T dont Awe \

No Child Shodd :
DADO heave kw
fp Draw thio Gk alt

u
! GMa Oran |

  

 

 

I!

 

t 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 8 of 54
PY Neyo CF
ofr oe a fhe x s |

IN THE 13TH JUDICIAL CIRCUIT, BOONE COUNTY, MISSOURI

 

 

Judge or Division: Case Number: 20BA-CV00395

 

J, HASBROUCK JACOBS
Plaintiff/Petitioner: Plaintiff's/Petitioner's Attorney/Address
ANIYIA ZENNA LAKIS BRANTLEY ANIYIA ZENNA LAKIS BRANTLEY

1706 TELLURIDE LN,
vs. | COLUMBIA, MO 652014

 

 

 

 

WOO - HSH Anes

 

 

Defendant/Respondent: Court Address:
COLUMBIA PUBLIC SCHOOL SYSTEM 705 E Walnut
Nature of Sult: COLUMBIA, MO 65201
CC Breach of Contract (Date File Stamp)
Summons in Civil Case RO OnIVED
The State of Missouri to: COLUMBIA PUBLIC SCHOOL SYSTEM
Alias: A 25 2020

1818 W. WORLEY me
COLUMBIA, MO 65203 oye Py IRIE

COURT SEAL OF You are summoned to appear before this court and tO-tils 'your-pleading to the petition, a
copy of which is attached, and to serve a copy of Your.pleading dpoir the attorney for
plaintift/petitioner at the above address all within 30 days after receiving this summons,
exclusive of the day of service. If you fail to file your pleading, judgment by default may
be taken against vou for the relief demanded in the petition.

BOONE COUNTY 1/28/2020 _ S/s/ M.. Stephens _
Date Clerk

Further Information:

 

 

Sheriff's or Server’s Return
Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.

| certify that | have served the above summons by: (check one)

eilvering a copy of the summons and a copy of the petition to the defendanvVrespondent.

C) leaving a copy of the: summons and a copy of the. petition at the dwelling place or usual abode of the defendant/respondent with

, @ person of the defendant's/respondent's family over the age of
15 years who permanently resides with the defendanV/respondent.

C] (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:

 

 

 

 

 

 

 

 

 

(namie) (title),
C other:
Servedat 1@\@ 2) Waclin (address)
in Borne (County/City of St, Louis), MO, on_\+30: 2 (date) at_4o ¢ (time).
Dd Casce. Cr. sda, A D Ce Z
Printed Name of Shariff or Server ‘ G& ‘Signature of Sheriff or Server
Must be sworn before-a notary public if not served by an authorized officer:
Subscribed and sworn to before me on (date).
(Seal)
My commission expires:
Date Notary Public
Sheriff's Fees, if applicable
Summons g 2S
Non Est $n PAID
Sheriff's Deputy Salary
Supplemental Surcharge = $ 10:00
Mileage ( miles. @ $. per mile)

 

$ _
Total $ Qu

A copy of the summons and a copy of the petition must be served on each detendant/respondent, For methods of service on all
classes of suits, see Supreme Court Rule 54.

 

 

 

OSCA (06-18) SM30 {SMCC) For Court Use Only; Document Id # 20-SMCC-68 1 of i Civil Procedure Form No, 1; Rules 54,01 — 54.05,
54.13, and 54.20; 506,120 — 506.140, and 506.150 RSMo

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 9 of 54

o>
a

Qe -

tan Leg
oD Aer

?

2 PS
Ru Rated Ge

CO
oi
OF

enc)
wy
Mei

dodesse, Sd:

IN THE 13TH JUDICIAL CIRCUIT, BOONE COUNTY, MISSOURI

 

 

 

Judge or Division: Case Number: 20BA-CV00395

J. HASBROUCK JACOBS

Plaintiff/Petitioner: Plaintiff's/Petitioner's Attorney/Address
ANIYIA ZENNA LAKIS BRANTLEY ANIYIA ZENNA LAKIS BRANTLEY

1706 TELLURIDE LN.
vs, | COLUMBIA, MO 65201

 

 

Defendant/Respondent: Court Address:
COLUMBIA PUBLIC SCHOOL SYSTEM 705 E Walnut

 

 

CC Breach of Contract

 

(Date File Stamp)

 

Summons inCivilCase "0° °°!

 

The State of Missouri to: COLUMBIA POLICE DEPARTMENT

Peet OE yg aay
Alias: hee
600 E. WALNUT
COLUMBIA, MO 65201

COURT SEAL OF

Cintas
OP

You are summoned to appear before this court and-to-file your-plea ing to the petition, a
copy of which is attached, and to serve a copy of your pleading upon the attorney for
plaintift/petitioner at the above address all within 30 days after receiving this summons,
exclusive of the day of service, If you fail to file your pleading, judgment by default may
be taken against you for the relief demanded in the petition.

BOONE COUNTY _ 1/28/2020 _ _ /s/M. Stephens

Dale Clerk
Further Information:

 

 

Sheriff's or Server's Return
Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.

| certify thal [ have served the above summons by: (check one)

_ ER Bivering a copy of the summons and a copy of the petition to the defendant/respondent.
aving a copy of the summons and a copy of the petition at the dwelling place or usual! abode of the defendant/respondent with

, a person of the defendant’s/respondent's family over the age of
15 years who permanently resides with the defendant/respondent.
_ Rafer service on a corporation) delivering a copy of the summons and a copy of the complaint to:

Je25 (os) AS (name) weAa mm IC Sour ce sy (title).
“OD other:

Served at (address)

in [PODQ 2 (County/City of St. Louis), MO, an x -Y- 2029 (date) at_/A MF (time).
)) Cecesy S57 Stead Poca

Printed Name of Sheriff or Server Signature of Sheriff or Server
Musi be sworn before a notary public If not served by an authorized officer:

Subscribed and sworn to before me on (date),

 

 

 

 

(Seal)
My commission expires:

 

Date Notary Public

 

Sheriff's Fees, if applicable

Summons g we

Non Est $e

Sheriff's Deputy Salary PA ID
$

Supplemental Surcharge 10.00
( miles @ §,

 

Mileage =

$
Total $ we

A copy of the summons and a copy of the petition must be served on each defendant/respondent, For methods of service on all
classes of suits, see Supreme Court Rule 54.

per mile)

 

 

 

 

OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 20-SMCC-69 1 of 7 Civil Procedure Form No, 1; Rules 54.01 ~ 54,05,
54.13, and 54.20; 506,120 ~ 506.140, and 506.150 RSMo

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 10 of 54
IN THE CIRCUIT COURT OF BOONE COUNTY, MISSOURI
A.B. BY HER NEXT FRIEND
KANDAS HOLMES-BARNES,
Plaintiff,
Case No.: 20BA-CV00395

VS.

COLUMBIA PUBLIC SCHOOLS and
COLUMBIA POLICE DEPARTMENT,

Defendants.

DEFENDANT COLUMBIA POLICE DEPARTMENT’S MOTION TO DISMISS

COMES NOW Defendant designated as “Columbia Police Department,” by and through
its undersigned counsel of record, pursuant to Rule 55.27(a), and hereby moves this Court to
dismiss Plaintiff's Petition for any or all of the reasons set forth below.

1, This is a case in which Plaintiff, a minor student in the Columbia School District,
seeks to recover money damages under common law. Her mother, Kandas Holmes-Barnes, is
acting as Plaintiff’s next friend.

2. There is no indication that the mother is a licensed attorney and, therefore, cannot
legally represent her daughter in this civil action.

3. Further, the Defendant designated as “Columbia Police Department” is not a
separate legal entity amenable to suit and, therefore, a viable claim to relief has not been pleaded.

4, Alternatively, even if the Columbia Police Department is a viable legal entity or the
City of Columbia is substituted for it, the claim presented by Plaintiff is barred by sovereign
immunity, which is codified at R.S.Mo. § 537.600 et seq.

5. Pursuant to Rule 55.27(a), this Court is empowered to grant the relief sought herein.

{00354041} 1

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 11 of 54
6. Defendant designated as “Columbia Police Department” incorporates herewith its

Suggestions in Support of this Motion as though said Suggestions had been set forth at length

herein.

WHEREFORE, based upon the above and foregoing, Defendant designated as Columbia

Police Department respectfully prays to be henceforth dismissed, awarded its costs and expenses

herein incurred and expended, together with such other and further relief as this Court deems just

and appropriate.

Respectfully submitted,

FISHER, PATTERSON, SAYLER & SMITH, LLP

/s/ David S. Baker
David S. Baker #30347
9393 W. 110" Street, Suite 300
Building 51, Corporate Woods
Overland Park, KS 66210
(913) 339-6757; Fax: (913) 339-6187
dbaker@fisherpatterson.com
Attorneys for Defendant

CERTIFICATE OF SERVICE

I hereby certify that on February 13, 2020, the foregoing was electronically filed and sent
via U.S. mail, postage prepaid, to the following:

Kandas Holmes-Barnes
1'706 Telluride Lane
Columbia, MO 65201

Next Friend of Plaintiff, Pro Se

{00354041}

Case 2:20-cv-04061-MDH

/s/ David S. Baker
DAVID S. BAKER

Document 1-2 Filed 04/17/20 Page 12 of 54
IN THE CIRCUIT COURT OF BOONE COUNTY, MISSOURI

A.B. BY HER NEXT FRIEND
KANDAS HOLMES-BARNES,

Plaintiff,
Vs.

Case No.: 20BA-CV00395

COLUMBIA PUBLIC SCHOOLS and
COLUMBIA POLICE DEPARTMENT,

a i a

Defendants.

SUGGESTIONS IN SUPPORT OF
DEFENDANT COLUMBIA POLICE DEPARTMENT’S MOTION TO DISMISS

COMES NOW Defendant designated as “Columbia Police Department,” by and through
its undersigned counsel of record, and offers the following Suggestions in Support of its Motion
to Dismiss.

Introduction

The Plaintiff is a minor and a student at Smithton Middle School. This case is being
prosecuted by Plaintiff's mother, Kandas Holmes-Barnes. It is alleged Plaintiff was “falsely
arrested for a crime she didn’t commit ... due to falsified information made up” by others,
Petition, { 4. The named Defendants are the “Columbia Public School” and “Columbia Police
Department.” This pleading has been filed on behalf of the Columbia Police Department. As
explained in greater detail below, the Petition fails for three separate reasons:

1. This lawsuit has been filed personally by Plaintiff's mother, Kandas Holmes-
Barnes. However, there is no indication she is a licensed Missouri attorney. It is
well-settled that a lay person may not file or prosecute a case on behalf of another.

2. Even if Ms. Holmes-Barnes is an attorney or is allowed to prosecute this case on
behalf of her daughter, the Defendant designated as the “Columbia Police

Department” is not a separate entity which can be sued and, therefore, a viable
claim to relief has not been pleaded.

{00354044} 1

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 13 of 54
3. Finally, even if the Columbia Police Department is a proper entity or the City of
Columbia is substituted for that agency, the claim to relief sought in the Petition is
barred by Missouri’s sovereign immunity statute, R.S.Mo. § 537.600, ef seq.

For and or all of these reasons, the Petition fails to state a viable claim and this Defendant should
be severed and dismissed.
Standard of Review

“A motion to dismiss for failure to state a cause of action is solely a test of the adequacy
of plaintiff's petition. It assumes that all of plaintiff's averments are true, and liberally grants to
plaintiff all reasonable inferences therefrom. No attempt is made to weigh any fact alleged as to
whether it is credible or persuasive. Instead, the petition is reviewed in an almost academic
manner, to determine if the facts alleged meet the elements of a recognized cause of action, or of
a cause that might be adopted in that case.” Nazeri v. Mo. Valley College, 860 S.W. 2d 303, 306
(Mo. banc 1993) (internal citation omitted).

Discussion and Analysis

Plaintiff, A.B., is a fourteen-year-old student at Smithton Middle School. Petition, J 1
and 4. It is alleged she was falsely accused of a crime by representatives of the Columbia School
District, and then “falsely arrested” by unidentified individuals. Jd. at § 4. For purposes of this
pleading, Defendant “Columbia Police Department” assumes the arrest was made by Columbia
Police Officers. The Petition states Plaintiff “has made a claim” against Defendants and has
offered to settle this matter for $2,400,000. Jd. at 95. There is no allegation any Defendant has

agreed to that settlement demand.' The Petition has been signed only by Plaintiffs mother,

Kandas Holmes-Barnes. There is no indication she is an attorney in Missouri or any other state,

 

' Just so there is no misunderstanding, the “Columbia Police Department” does not agree to any such settlement
demand.

{00354044} 2

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 14 of 54
Nonattorney May Not Represent Another

The initial question that presents itself is whether a valid Petition on behalf of A.B. has
been filed. There is no indication that Candace Holmes-Barnes is a licensed attorney. The “general
rule” is that an attempt to prosecute a lawsuit by a non-attorney “will normally require dismissal
of the action or voidance of the judgment.” Strong v. Gilster Mary Lee Corp., 23 S.W.3d 234, 241
(Mo. App. 2000). “Missouri courts have adhered to this general rule.” Jd. While there may be
special circumstances allowing for an exception, “the normal effect of a representative’s
unauthorized practice of law on behalf of a party is to require a dismissal of the cause or treat the
particular actions taken by the representative as a nullity.” Jd.

Because there is no indication that Plaintiff’s mother is a licensed Missouri attorney, it is
respectfully submitted this Court should dismiss the Petition without prejudice.
Columbia Police Department Not a Legal Entity

One of the named Defendants identified by Plaintiff is the “Columbia Police Department.”
However, a police department is simply a part of a City government and is not a proper defendant.
Ketchum v. City of West Memphis, 974 F.2d 81, 82 (8" Cir. 1992) (the “West Memphis Police
Department and West Memphis Paramedic Services are not juridical entities suable as such. They
are simply departments or subdivisions of the City government”); Roydhouse v. City of Cape
Girardeau Police Dep’t., No. 1:14-CV-36-ACL, 2014 WL 1338837, at *1 (E.D.Mo. April 3, 2014)
(“police departments are not suable entities under § 1983”); Walker v. Kansas City Police Dep’t.,
No. 09-00583-CV-W-FJG, 2010 WL 2720720, at *1 (W.D.Mo. July 6, 2010) (concluding plaintiff
failed to state a claim against Kansas City, Missouri, Police Department “because that defendant
is a non-suable entity”). Accordingly, it is respectfully submitted the Defendant designated as

“Columbia Police Department” should be severed and dismissed with prejudice.

{00354044} 3

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 15 of 54
Sovereign Immunity Bars Claim

Even if the Columbia Police Department were a separate legal entity which could be sued,
or if this Court were to substitute the City of Columbia in lieu of its Police Department, dismissal
is still the appropriate result. Plaintiff’s claim against the City of Columbia and its police
department is barred by Missouri’s sovereign immunity statute, R.S.Mo. § 536.600, et seg. Ina
case like this, the City of Columbia is immune from common law liability unless one of four
exceptions exist:

1, When the injury arises from a public employee’s negligent operation of a motor
vehicle in the course of employment with that entity;

2. Where the injury is caused by the dangerous condition of the municipality’s
property;
3. When the injury is caused by the municipality performing a proprietary function,

as opposed to a governmental function; and
4, To the extent the municipality has procured applicable insurance, thereby waiving
sovereign immunity up to but not beyond the policy limit and only for acts
covered by the policy.
Bennariz v. City of Columbia, 300 S.W.3d 251, 259 (Mo. App. 2009).

Clearly, the first two exceptions are inapplicable under these facts. As for the third, the
Missouri Supreme Court has previously determined “[t]he operation of a police department is a
governmental function whereby sovereign immunity attaches to a municipality.” State ex rel. City
of Grandview v. Grate, 490 S.W.3d 368, 371 (Mo. banc 2016). And with regard to the “waiver of
sovereign immunity through the purchase of applicable insurance” exception, there is no allegation
the City has waived its sovereign immunity. The defense of sovereign immunity is not an
affirmative defense. [I]t is well settled in Missouri that sovereign immunity is not an affirmative

defense.” Townsend v. Eastern Chemical Waste Systems, 234 S.W.3d 452, 470 (Mo. App. 2007).

And because it is not an affirmative defense, it is Plaintiff's burden to plead facts showing that an

{00354044} 4

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 16 of 54

mn

Wd GEL - Of02 CL
exception to sovereign immunity applies. Richardson v. City of St. Louis, 293 S.W.3d 133, 137
(Mo. App. 2009) (“Missouri courts have routinely held that sovereign immunity is not an
affirmative defense and that the plaintiff bears the burden of pleading with specificity facts giving
rise to an exception to sovereign immunity when suing a public entity’).

Here, the Petition is devoid of any allegation even suggesting an exception to the sovereign
immunity statute. As a result, Plaintiffs claim against the City of Columbia (or its police
department) is barred by R.S.Mo. § 537.600.1. Dismissal is, therefore, appropriate.

Conclusion

For the reasons discussed above, it is respectfully submitted the Columbia Police
Department should be severed and dismissed from this lawsuit, together with such other and
further relief as this Court deems just and appropriate.

Respectfully submitted,
FISHER, PATTERSON, SAYLER & SMITH, LLP

/s/ David S. Baker
David S. Baker #30347
9393 W. 110" Street, Suite 300
Building 51, Corporate Woods
Overland Park, KS 66210
(913) 339-6757; Fax: (913) 339-6187
dbaker@fisherpatterson.com
Attorneys for Defendants

CERTIFICATE OF SERVICE

Thereby certify that on February 13, 2020, the foregoing was electronically filed and sent
via U.S. mail, postage prepaid, to the following:

Kandas Holmes-Barnes
1706 Telluride Lane
Columbia, MO 65201

Next Friend of Plaintiff; Pro Se

/s/ David S. Baker
DAVID S. BAKER

{00354044} 5

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 17 of 54

up
OG
ot
oa

c}
am

we
IN THE CIRCUIT COURT OF BOONE COUNTY, MISSOURI

A.B. BY AND THROUGH KANDAS
HOLMES-BARNES,

Plaintiff,
Case No.: 20BA-CV00395
v.

COLUMBIA PUBLIC SCHOOL SYSTEM
and

COLUMBIA POLICE DEPARTMENT.

el el al li ll le a a al

Defendants.

DEFENDANT COLUMBIA PUBLIC SCHOOL SYSTEM’S
MOTION TO STRIKE AND SUGGESTIONS IN SUPPORT

COMES NOW Defendant Columbia Public School (“CPS”), by and through its
undersigned counsel of record, pursuant to Missouri Rule of Civil Procedure 55.27(e), and for its
Motion to Strike and Suggestions in Support thereof states and avers as follows.

1. Defendant CPS requests that this Court strike portions of paragraph 4; paragraphs
5, 8, 9 and 10; along with the “WHEREFORE” paragraph from Plaintiff’s Petition for Damages.
Paragraphs 5, 8-10, and the “WHEREFORE” paragraph improperly seek Court approval of a non-
existent settlement. Paragraph 4 improperly includes the name of a non-party minor.

2. CPS also moves to strike the name of the minor Plaintiff included in a handwritten
letter filed with the Court on January 27, 2020.

3. Paragraph 5 of the Petition improperly seeks Court approval to settle Plaintiffs
claims against Defendant for the sum of $2.4 million. Paragraph 5 fails to state, and cannot
accurately state that Defendant CPS agreed to any such settlement demand, or that any such

demand was ever propounded on Defendant CPS.

F:AWPDOCS\48\48.358\Pleadings\Motion to Strike.docx

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 18 of 54
4, Paragraph 8 of the Petition improperly states that the “remaining amount of $2.4
million shall be made payable ...”. There is no allegation, and cannot be an accurate allegation,
that either Defendant has agreed to pay $2.4 million dollars in this matter.

5, Paragraph 9 of the Petition asserts that it is in the “best interest and to the advantage
of Petitioner to accept said offer of compromise and settlement ...”. There is no allegation, and
cannot be an accurate allegation, that either Defendant has offered compromise and settlement of
this matter.

6. Petition paragraph 10 references the “proposed settlement contract”. There is no
allegation that any Defendant agreed to or proposed a settlement contract.

7. The Petition “Wherefore” paragraph and its subparagraphs improperly seek an
order of the Court regarding a “settlement agreement”, ‘$2.4 million”, and “satisfaction of
Judgment” without any factual assertions that either Defendant has made a settlement agreement
in any amount or agreed to allow judgment to be rendered against it.

8. Defendant CPS denies that any settlement agreement has been reached and
maintains that such allegations suggesting this Court approve a non-existent settlement should be
stricken from the pleading.

9. Injection of a monetary demand in actions for damages based upon an alleged tort
is prohibited by Rule 55.05 of the Missouri Rules of Civil Procedure. Specifically, Rule 55.05
states that in actions for damages based upon an alleged tort, no dollar amount shall be included
in the demand except to determine the proper jurisdictional authority.

10. Inclusion of information regarding a non-existent offer of compromise and
settlement, settlement agreement, proposed settlement contract, and judgment and inclusion of a

multimillion dollar amount is immaterial, impertinent, and/or scandalous.

Page 2 of 4

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 19 of 54

aM

- 0202 “81 Aueriges -

LO-20

:
ct
11. Rule 55.27(e) states “Upon motion made by a party before responding to a pleading
or, ... upon the court’s own initiative at any time, the Court may order stricken from any pleading
any ... redundant, immaterial, impertinent, or scandalous matter”. (See also R.S.Mo. § 509.320).

12. To suggest that the parties have reached a settlement resolution is both impertinent
and scandalous. The assertions serve no other functional purpose in the pleadings and should be
stricken in their entirety.

13. | Defendant also moves to strike the handwritten letter purportedly written by minor
Plaintiff, A.B. or at least the portions of the letter identifying the minor’s name. The document
contains sensitive information about the alleged medical condition and emotional state of the minor
along with her name and has been improperly injected into a publicly available sphere.

14. The handwritten letter specifically identifies the minor without utilizing
abbreviations to protect her identity.

15. This identifying information and medical information pertaining to a minor should
be stricken in its entirety, or alternatively, filed under seal and removed from the public.

16. The Petition also identifies a minor in paragraph 4 of the Petition which should be
stricken to protect the non-party minor from further disclosure.

17. Minors’ identifying information should be afforded as much protection as possible.
Defendant CPS provides education and schooling to minor students and is mindful of the
importance of protecting the disclosure of “personal identifiable information” of minor students,
including their name. See, the Family Education Rights and Privacy Act (“FERPA”, 20 U.S.C. §
1232(g), 24 C.F.R. part 99),

18. Currently, the Plaintiffs pleading, with all its inaccuracies and improper

disclosures of minors’ names and medical information is available to the public. The information
Page 3 of 4

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 20 of 54

re
Ww
CY

i
is accessible through Case.net. Members of the news media have already gained access to the
improperly disclosed information.

19. The Case.net system is designed with features to prevent further disclosures and
upon request by a sitting judge, the security level on Case.net can be elevated to prohibit access
by anyone other than the Court and counsel involved in the case. Defendants move this Court for
such an Order.

WHEREFORE, for the reasons discussed above, Columbia Public Schools respectfully
requests the Court order portions of the Petition be stricken and that elevated Case.net security be
utilized to protect minors involved in this matter, and for any such further relief as the Court deems
just and proper.

Respectfully submitted,

FRANKE SCHULTZ & MULLEN, P.C.
s/ Jill Smith

JILL SMITH #38461
8900 Ward Parkway

Kansas City, MO 64114
(816) 421-7100 Phone; (816) 421-7915 Fax

jsmith@fsmlawfirm.com
Attorney for Defendant

Columbia Public School System

CERTIFICATE OF SERVICE

 

The undersigned certifies that a copy of the foregoing has been electronically served upon
all counsel of record through Missouri eFiling System on February 18, 2020 as well as on pro se
Plaintiff via CMRRR:

Kandas Holmes-Barnes

 

1706 Telluride Lane
Columbia, MO 65201
Next Friend of Plaintiff; Pro Se
Ls/ Jill Smith
Attorney for Defendant

Columbia Public School System
Page 4 of 4

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 21 of 54

Wel L020 - G202 (&:
IN THE CIRCUIT COURT OF BOONE COUNTY, MISSOURI

A.B. BY AND THROUGH KANDAS
HOLMES-BARNES,

Plaintiff,
Case No.: 20BA-CV00395

Vv.

COLUMBIA PUBLIC SCHOOL SYSTEM
and

COLUMBIA POLICE DEPARTMENT.

Defendants.

New Nem Nee eee Nee Nee ee ee ee” ee” ee” eee” ee ee”

DEFENDANT COLUMBIA PUBLIC SCHOOL SYSTEM’S
MOTION TO DISMISS

COMES NOW Defendant Columbia Public School (“CPS”), by and through its
undersigned counsel of record, pursuant to Missouri Rule of Civil Procedure 55.27(a), and hereby
moves this Court to dismiss Plaintiffs Petition for any or all of the reasons set forth in this Motion
and the Suggestions in Support filed contemporaneously:

I. Plaintiff's pleading has been filed personally by the minor Plaintiff's mother,
Kandas Holmes-Barnes.

2. The “Petition for Damages” purports to be filed in Kandas Holmes-Barnes’
capacity as “Next Friend.” However, Kandas Holmes-Barnes has not been formally appointed to
act as Next Friend of A.B. in a manner that complies with Missouri procedural law.

3. There is no indication that Kandas Holmes-Barnes, who signed the Petition for
Damages on behalf of Plaintiff, is a licensed Missouri attorney.

4, Because Kandas Holmes-Barnes is not a licensed Missouri attorney, she cannot

practice law in the state of Missouri and cannot legally represent her daughter in this civil action.

F:\WPDOCS\48\48.358\Pleadings\Motion to Dismiss.docx

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 22 of 54
5. The pleading filed in this action is deficient in numerous respects and should be
dismissed in its entirety or stricken in substantial ways. (See CPS’ Motion to Strike).

6. Plaintiffs Petition for Damages fails to state a claim comporting with the Missouri
Rules of Civil Procedure.

7. Rule 55.05 of the Missouri Rules of Civil Procedure states that a petition must
“contain a short and plain statement of the facts showing that the pleader is entitled to relief ...”.
Missouri’s fact-pleading rules demand more than mere conclusions that the pleader alleges without
supporting facts,

8, Mere conclusory allegations and/or bare legal principles constitute inadequate
pleadings. The bare legal principles asserted in Petition, paragraph 4 are insufficient to even
provide general notice of anticipated claims and fall short of the factual specificity necessary to
support the listing of legal conclusions and claims.

9, The Petition does not contain factual allegations to suggest a viable claim under the
MHRA or the right to sue under the Act.

10. Claims asserted in a lawsuit based on the MHRA must be specifically stated, grow
out of, or be reasonably related to the substance of the administrative charge.

11. The Petition makes no mention of any underlying administrative charge and fails
to inform the Court regarding any viable right to sue, and if one existed, what the nature of the
right to sue entails.

12. Because Plaintiff's pleading is inadequate, any claim under the Missouri Human
Rights Act must be dismissed with prejudice for failure to comply with time constraints by failing

to properly commence the cause of action pursuant to § 213.111.1 R.S.Mo.

Page 2 of 3

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 23 of 54
13. Because the Petition for Damages is fatally deficient on numerous grounds, the

Petition should be dismissed in its entirety.

WHEREFORE, based upon the above and foregoing, Defendant Columbia Public Schools

respectfully prays to be dismissed, awarded its costs and expenses herein incurred and expended,

together with such other and other further relief that this Court deems just and appropriate.

Respectfully submitted,
FRANKE SCHULTZ & MULLEN, P.C.

Ls/ Jill Smith

JILL SMITH #38461
8900 Ward Parkway

Kansas City, MO 64114

(816) 421-7100 Phone; (816) 421-7915 Fax
jsmith@fsmlawfirm.com

Attorney for Defendant

Columbia Public School System

CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing has been electronically served upon
all counsel of record through Missouri eFiling System on February 18, 2020 as well as on pro se

Plaintiff via CMRRR:

Kandas Holmes-Barnes

1706 Telluride Lane

Columbia, MO 65201

Next Friend of Plaintiff; Pro Se

Ls/ Jill Smith
Attorney for Defendant
Columbia Public School System

Page 3 of 3

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 24 of 54
IN THE CIRCUIT COURT OF BOONE COUNTY, MISSOURI

A.B. BY AND THROUGH KANDAS
HOLMES-BARNES,

Plaintiff,

Case No.: 20BA-CV00395
v.

COLUMBIA PUBLIC SCHOOL SYSTEM
and

COLUMBIA POLICE DEPARTMENT.

Defendants.

Newer Neem Nee Ne Neue nee Nee” Nee Noe” Nee” Nee ee ee” See”

SUGGESTIONS IN SUPPORT OF DEFENDANT COLUMBIA PUBLIC
SCHOOL’S MOTION TO DISMISS

COMES NOW Defendant Columbia Public Schools (“CPS”), by and through undersigned
counsel, pursuant to Missouri Rule of Civil Procedure 55.27(a) and for its Suggestions in Support
of its Motion to Dismiss Plaintiff's Petition for Damages, states and avers as follows:

I. Introduction

This action pertains to an event alleged to have occurred on or about January 10, 2019
whereby minor Plaintiff A.B. was allegedly falsely arrested. The “Petition for Damages” was filed
by the minor Plaintiff's mother, Kandas Holmes-Barnes, purportedly in the capacity as “Next
Friend”; however, Ms. Holmes-Barnes has not been formally appointed to act as Next Friend of
A.B, in a manner that complies with Missouri procedural law. Additionally, there is no indication
that Plaintiff's mother is licensed to practice law in Missouri. The “Petition for Damages” was
filed pro se by Plaintiffs mother. The pleading is deficient in numerous respects and should be
dismissed in its entirety. The Petition fails to state a claim against CPS for which relief can be

granted.

F:;\WPDOCS\48\48.358\Pleadings\SIS Motion to Dismiss.docx

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 25 of 54
WW. Legal Standard

Importantly, “pro se litigants are held to the same standards as attorneys.” State v.
Chambers, 481 $.W.3d 1, 7 (Mo. banc 2016). “Judicial impartiality, judicial economy, and
fairness to all parties preclude courts from granting pro se litigants preferential treatment.” Id.
Even pro se parties must comply with Missouri Supreme Court Rules and civil procedure in
general. See Snyder v. Schechter, 245 S.W.3d 830, 832 (Mo. Ct. App. 2007).

“A Motion to Dismiss for failure to state a cause of action is solely a test of the adequacy
of a Plaintiff's Petition. It assumes that all of Plaintiffs averments are true, and liberally grants to
Plaintiff all reasonable inferences therefrom. No attempt is made to weigh any fact alleged as to
whether it is credible or persuasive. Instead, the Petition is reviewed in an almost academic
manner, to determine if the facts alleged meet the elements of a recognized cause of action, or of
a cause of action that might be adopted in that case.” Nazeri v. Mo. Valley College, 850 S.W. 2d
303, 306 (Mo. banc 1993) (internal citation omitted),

Ill. Inadequacy of Petition

The Plaintiff's Petition for Damages is deficient in numerous respects and is subject to

dismissal, in whole or in part, for the reasons detailed below.
A, Layman May Not Represent Another

It has long been the law in Missouri that a layman may not, even on a single occasion,
represent another in legal proceedings, whether or not for consideration. -Risbeck v. Bond. 885
S.W. 2d 749, 750 (Mo. App. S.D. 1994); Liberty Mutual Ins. Co. v. Jones, 344 Mo. 932, 130 S.W.
2d 945, 955 (banc 1939). In this case, it appears that Kandas Holmes-Barnes is representing her
daughter, A.B. There is no indication that Kandas Holmes-Barnes is a properly licensed attorney.

The representational activity undertaken by Plaintiff’s mother is improper if it amounts to the

Page 2 of 8

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 26 of 54

Wed Loto - orte 2. A

yee a aoe
ET ee et AE EE ot
practice of law. Strong v. Gilster Mary Lee Corp., 23 S.W. 3d 234, 239 (Mo. App. 2000). The
“practice of the law” is defined to be and is the appearance as an advocate in a representative
capacity or the drawing of papers, pleadings or documents or the performance of any act in such
capacity in connection with proceedings pending or prospective before any court of record,
commissioner, referee or any body, board, committee or commission constituted by law or having
authority to settle controversy. V.A.M.S. § 484.010.1. Missouri courts adhere to the general rule,
with some special circumstances allowing an exception, that the normal effect of a representative’s
unauthorized practice of law on behalf of a party requires dismissal of the cause or to treat the
particular actions taken by the representative as a nullity. Strong, 23 S.W. 3d 234, 241.

Because it appears a non-lawyer is attempting to prosecute a lawsuit on behalf of another,
it is requested that the Court dismiss the Petition.

B. No Official Legal Appointment as Next Friend

Plaintiffs Petition is also improper for failure to adhere to the procedural requirement of
representation by a duly-appointed next friend or guardian as required by law. Missouri Rule
52.02(a), states:

“Civil actions by minors may be commenced and prosecuted only by a duly

appointed guardian of such minor or, if there is no such guardian, by a next friend

appointed in such civil action; if asserted by counterclaim, cross-claim or third party

pleadings, such civil action may only be prosecuted by a duly appointed guardian

of such minor or, if there is no such guardian, by a guardian ad litem appointed for

such civil action.”

Section 507.110 provides that “[s]uits by infants may only be commenced and prosecuted,
either: First, by a duly appointed guardian or conservator of such infant; or, Second, by a next

friend appointed for him in such suit; or, Third, if asserted by a counter claim, by a guardian ad

litem.” Section 507.115 defines “infant” as “any person who has not attained the age of 18 years.”

Page 3 of 8

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 27 of 54

707 ‘@, Areriqes -

.- AS
we EA

“or
Section 507.110 (from which Rule 52.02 derives) plainly and unambiguously applies to all “suits”
by “infants.” Rule 52.02 plainly and unambiguously applies to all “civil actions by minors.” It is
well-settled in Missouri that “in any proceeding involving minors, they are to be considered wards
of the Court and their rights are to be jealously guarded as provided by statute. Y.W. by and through
Smith y. National Supermarkets, Inc., 876 S.W. 2d 785, 787 (Mo. App. 1994).

Parents must comply with the statutory requirements in order to represent their children as
a next friend in proceedings. Levin v. State Farm Mutual Automobile Ins. Co., 510 S.W. 2d 455,
462 (Mo. banc 1974). The Missouri Supreme Court found that even though a parent generally has
the interests of a child at heart, “[t]his does not mean a parent in all cases is qualified to represent
his child in litigation.” Cox v. Wrinkle, 267 S.W. 2d 648, 653 (Mo. 1954). Even if parents are
duly appointed, they may be later disqualified because of a conflict of interest with their minor
children. Vincent by Vincent y. Johnson, 833 S.W. 2d 859, 863 (Mo. banc 1992).

Ms. Holmes-Barnes has not been formally appointed as a Next Friend in this matter, thus
preventing the commencement of the action. Rule 52.02(d) requires that “[t]he petition for the
appointment of a next friend, the written consent of the person proposed to be next friend, and the
order of appointment, shall be filed in the office of the clerk of the court where the civil action is
proposed to be brought before any proceedings shall be had in the cause.” No such appointment
or request for appointment has been effectuated in this case. Additionally, per Rule 52.02(c),
“[s]uch appointment shall be made on the petition in writing of such minor if of the age of fourteen
years and the written consent of the person proposed to be next friend.” Upon information and
belief, minor A.B. is fourteen years or older and thereby must provide formal written consent

before a Next Friend can be duly appointed. This has not occurred either.

Page 4 of 8

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 28 of 54

oe
This matter should not proceed because there has been no duly appointed next friend or
compliance with Missouri’s procedural requirements. This case has not been properly
“commenced” per the terms of Rule 52.02.

Cc Failure to State a Clain—Missouri Rule 55.27(a) (6)

The Plaintiffs Petition for Damages fails to state a claim that comports with the Missouri
Rules of Civil Procedure. Under Rule 55.05, a Petition must “contain a short and plain statement
of the facts showing that the pleader is entitled to relief...” But Missouri's fact-pleading “rules
‘demand more than mere conclusions that the pleader alleges without supporting facts.” Jennings
v. Bd. of Curators of Missouri State Univ., 386 S.W.3d 796, 798 (Mo. App. S.D. 2012) (quoting
Pulitzer Pub. v. Transit Cas. Co., 43 §.W.3d 293, 302 (Mo. Banc 2001)). Indeed, Missouri courts
are “to disregard conclusions not supported by the facts pled.” Ford Motor Credit Co. v. Updegraff,
218 S.W.2d 617, 621 (Mo. App. W.D. 2007). Under Missouri's fact pleading regime, a defendant
is entitled to more than mere notice of the general nature of the plaintiff's claims. State ex rel.
Harvey, 955 S.W.2d at 547. Mere conclusory allegations and/or bare legal principles constitute
inadequate pleadings. Ashland Oil, Inc. v. Warmann, 869 S.W.2d 910, 911-312 (Mo. App. E.D.
1994); see also Thompson v. Brown & Williamson Tobacco Corp., 207 S.W.3d 76 (App. W.D.
2006).

The failure to allege facts is not merely a “technical” violation of Missouri's pleading rules.
See, Id. (holding that the trial court lacks the discretion to disregard fact-pleading requirement).
Rather, a cause of action pled without supporting facts is subject to dismissal for failure to state a
claim upon which relief can be granted. See Rule 55.27(a)(6); see also ITT Commercial Finance

Corp. v. Mid-America Marine Supply Corp., 854 S.W.2d 371, 379 (Mo. 1993) (“[I]n Missouri,

Page 5 of 8

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 29 of 54

mere io: Ai
Wow

om
Ov PROS

—
motions to dismiss for failure to state a claim have substantially more ‘bite’ under our ‘fact
pleading’ rules than they have under the federal system of ‘notice pleading””).

The only paragraph in the Petition that seemingly alleges any factual basis is Paragraph 4.
However, this particular paragraph is simply insufficient under the fact-pleading standards of
Missouri and Rule 55.05. It contains only conclusory allegations that are insufficient under
Missouri’s fact pleading standards. Paragraph 4 suggests a myriad of legal conclusions and
claims—all of which carry their own particularized legal elements and burdens of proof, but none
of which are supported by any viable factual pleading.

Plaintiff has provided no insight in Petition paragraph 4 into the nature of the alleged “false
information made up from” various school-related persons, stating only that those persons verbally
said “it was her.” There is no indication of the nature of the underlying facts. There is no indication
as to what “it” refers. There is no indication as to the nature of the alleged false statements
provided or to whom. The remainder of Paragraph 4 simply lists phrases, some of which are
independent legal claims with no additional context. In short, there is insufficient fact or legal
pleading to suggest a viable claim has been asserted.

The Plaintiff has failed to allege details necessary to pursue a discrimination lawsuit. In
order to bring a civil claim, the Plaintiff must comport with the conditions and requirements of the
Missouri Human Rights Act, Mo. Rev. Stat. § 213.010 et seq. (hereinafter referred to as the
“MHRA”). The pleading fails to show that the Plaintiff has met all the conditions precedent to
filing an action pursuant to the MHRA.

The Plaintiff’s Petition fails to inform this Court that any viable right to sue exists, and if
so, what the nature of that right to sue entails. Exhaustion of administrative remedies is required

for a claimant to bring a discrimination cause of action under the MHRA. The claims asserted in

Page 6 of 8

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 30 of 54

ap
the Petition for Damages must be specifically stated, grow out of, or be reasonably related to the

substance of an administrative charge. See Stuart vy. General Motors Corp., 217 F.3d 621, 631 (8th

Cir. 2000). Plaintiffs Petition fails to properly plead a claim pursuant to MHRA and should be’

dismissed accordingly.

The bare allegations made in Paragraph 4 are simply insufficient to provide a general notice
of the anticipated claims, much less with the factual specificity necessary to support any such
claims, Paragraph 4 falls short of the requirements of Rule 55.05 and the Petition for Damages is
fatally deficient and subject to dismissal as a result.

WHEREFORE, based upon the above and foregoing, Defendant Columbia Public Schools
respectfully prays to be dismissed, awarded its costs and expenses herein incurred and expended,
together with such other and further relief as this Court deems just and appropriate.

Respectfully submitted,

FRANKE SCHULTZ & MULLEN, P.C.
Ls/ Jill Smith

JILL SMITH #38461
8900 Ward Parkway

Kansas City, MO 64114
(816) 421-7100 Phone; (816) 421-7915 Fax

jsmith@fsmlawfirm.com

Attorney for Defendant
Columbia Public School System

Page 7 of 8

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 31 of 54

UCOSIS

PMP AE
CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing has been electronically served upon
all counsel of record through Missouri eFiling System on February 18, 2020 as well as on pro se
Plaintiff via CMRRR:

Kandas Holmes-Barnes

1706 Telluride Lane
Columbia, MO 65201

Next Friend of Plaintiff, Pro Se

Ls/ Jill Smith
Attorney for Defendant
Columbia Public School System

Page 8 of 8

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 32 of 54
From: Missouri Courts eFiling System

To: issouri Co ili seri

Ce: David Baker; 13th Judicial Circuit (Boone County)

Subject: eNotice - 20BA-CV00395 - IN RE A.B BY NOF KANDAS HOLMES-BARNES V CPS ET AL, Boone County - Circuit
Court

Date: Wednesday, March 11, 2020 02:48:14 PM
Attachments: mo-ecf-msg.xml

 

ELECTRONIC NOTICE OF ENTRY
(Supreme Court Rule 74.03)
Boone County - Circuit Court
705 E Walnut, COLUMBIA, MO

CASE NO: 20BA-CV00395 - IN RE A.B BY NOF KANDAS HOLMES-
BARNES V CPS ET AL

MOBAR: 30347
TO: David Stephen Baker
YOU ARE HEREBY NOTIFIED that the court duly entered the following:

Filing Description . Text * Last
Date Activity
3/9/20 Order Plaintiff appears by Viets who 3/11/20
9:00 AM orally enters his appearance. 11:33 AM

Defendant Columbia Police
Department appears by Baker,
Defendant Columbia Public
School System by Smith. Plaintiff
is given 30 days to file amended
or substitute pleadings. JHJ (ms)

Associated Entries

2/25/20 11:23 AM - Hearing Scheduled
(ms)

NOTE: You MUST be a registered user in order to view the documents. If you
have not registered for eFiling click here. If the case or document contains
confidential information, you may not be able to view the case or document through
the links provided. In the event you are unable to view information electronically, the
court will provide a paper copy for your records.

“If “None entered at this time" displays in the text field, the court has not entered any

Case 2:20-cv-04061-MDH Document1-2 Filed 04/17/20 Page 33 of 54
text on this entry. The first 2000 characters of text is provided in this eNotice. To see
additional information about the entry made by the court, see Case.net.

Click to access the Missouri eFiling System

This e-mail is auto generated. Please do not respond. If you have a concern with
your filing, please contact the court. If you need technical assistance, please
contact the Office of State Courts Administrator Help Desk by e-mail at

osca.help.desk@courts.mo.gov or toll-free by phone at at 1(888)541-4894, 7:30 a.m.
to 5:00 p.m., Monday through Friday, excluding state holidays.

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 34 of 54
IN THE CIRCUIT COURT OF BOONE COUNTY, MISSOURI
DIVISION I

A.B. BY HER NEXT FRIEND

KANDAS HOLMES-BARNES,
Plaintiff,
VS. Case No, 20BA-CV00395

COLUMBIA PUBLIC SCHOOL
SYSTEM, and

CITY OF COLUMBIA, MISSOURI, and

OFFICER TONY ASH,
Defendants.

me Nee Smee Somme Ne Ne ee ae ee See Se me”

PETITION FOR APPOINTMENT OF “NEXT FRIEND”
FOR INFANT, A.B... IN CIVIL SUIT AND TO
WAIVE BOND REQUIREMENT

COMES NOW A.B., an “infant” within the meaning of Section 507.115, RSMo, by
counsel and hereby petitions the Court, pursuant to Section 507.130, RSMo, to appoint A.B,’s
mother, Kandas Holmes-Barnes, as “next friend” for purposes of this lawsuit. In support of this
Petition, counsel states the following:

That A.B. is at least fourteen years of age and lives with her mother, Kandas Holmes-
Barnes, in Columbia, Boone County, Missouri, A.B. consents to and wishes for her mother,
Kandas Holmes-Barnes, to be appointed as her “next friend” in the above-referenced case.

That Kandas Holmes-Barnes also consents to her appointment as “next friend” of A.B. in
the above-referenced case, Ms. Holmes-Barnes recognizes that, as “next friend” of A.B., she
will have the duty to account to A.B. for all money or property which may come into her hands,

as a result of this lawsuit, less only expenses of this suit and attorney fees,

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 35 of 54
That Kandas Holmes-Barnes has A.B.’s best interest in mind, and she asks this Court to

waive the bond requirement of Chapter 507, Ms. Holmes-Barnes recognizes that, as “next

friend” of A.B., she will be personally liable to A.B. upon receipt of any money or property until

discharged from her obligations by Order of this Court.

WHEREFORE, Plaintiff prays that this Court issue an Order sustaining this Petition and

appoint Kandas Holmes-Barnes as “next friend” of A.B. and waive any bond requirement and for

such further Orders as the Court deems just and reasonable.

af) 42)

DOB 9-5-4 — Date

Vanclan dloiman- Bas
‘Kandas Holmes-Barnes Date ane AOQ

/sf Dan Viets

DAN VIETS

Missouri Bar Number 34067
15 North Tenth Street
Columbia, MO 65201

(573) 443 6866

Ws u jel me cirit tes COAT

 

Attorney for Plaintiff
A.B. by her Next Friend
Kandas Holmes-Barnes

Proof of Service

The undersigned certifies that a complete copy of this document was filed via the Missouri
eFiling System for electronic delivery to all attorneys of record on April 6, 2020 and will be served
on the City of Columbia and Officer Tony Ash in accordance with Chapter 506, RSMo.

/s/ Dan Viets

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 36 of 54
IN THE CIRCUIT COURT OF BOONE COUNTY, MISSOURI
DIVISION I

A.B. BY HER NEXT FRIEND
KANDAS HOLMES-BARNES,
Plaintiff,
VS. Case No. 20BA-CV00395

COLUMBIA PUBLIC SCHOOL
SYSTEM, and

CITY OF COLUMBIA, MISSOURI, and

OFFICER TONY ASH,
Defendants.

Nee? Nore Nee ee Nee” ee ee ee ee ee” ee”

PLAINTIFF’S MOTION TO SUBSTITUTE
THE CITY OF COLUMBIA, MISSOURI AS A DEFENDANT AND
TO ADD SCHOOL RESOURCE OFFICER TONY ASH
AS A DEFENDANT

COMES NOW Plaintiff by counsel and moves this Court for an Order allowing the
substitution of the City of Columbia, Missouri as a Defendant, instead of the Columbia Police
Department, and to allow the addition of School Resource Officer Tony Ash as a Defendant. In
support of this Motion, counsel states as follows:

When Plaintiff filed her original Petition for Damages with this Court, she was acting on
a pro se basis. Without counsel at that time, she was unaware that when she named the
Columbia Police Department (CPD) as a Defendant that CPD was merely a department of the
City of Columbia, Missouri, and that it was, therefore, not a proper entity to sue. Roydhouse v.
City of Cape Girardeau Police Dept., 2014 U.S. Dist. LEXIS 45859, 2014 WL 1338837 at 1
(E.D. Mo. April 3, 2014). The City of Columbia, Missouri is a municipal corporation organized

and existing pursuant to Missouri law. It is located in Boone County, Missouri.

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 37 of 54
Further, if allowed to substitute the City of Columbia, Missouri as a Defendant, Plaintiff
believes that, through the discovery process, evidence will be gleaned which shows that
sovereign immunity does not apply to the City of Columbia, Missouri in this instance.

In addition, Plaintiff seeks to add School Resource Officer Tony Ash as a Defendant in
this lawsuit. If allowed to add School Resource Officer Tony Ash as a Defendant, Plaintiff
believes the evidence will show that Officer Ash took inappropriate action in this case without
investigating the matter. He acted individually and in his official capacity to seize and arrest the
Plaintiff without probable cause. The Plaintiff has suffered greatly due to Officer Ash’s actions.

WHEREFORE, the Plaintiff by counsel prays that this Court enter an Order allowing the
substitution of the City of Columbia, Missouri as a Defendant in lieu of the Columbia Police
Department and to allow the addition of School Resource Officer Tony Ash as a Defendant and
for such further Orders as the Court deems reasonable and just.

/s/ Dan Viets

DAN VIETS

Missouri Bar Number 34067
15 North Tenth Street

Columbia, MO 65201
(573) 443 6866

DanViets@gmail.com

Attorney for Plaintiff
A.B. by her Next Friend
Kandas Holmes-Barnes
Proof of Service
The undersigned certifies that a complete copy of this document was filed via the Missouri
eFiling System for electronic delivery to all attorneys of record on April 6, 2020 and will be served

on the City of Columbia and Officer Tony Ash in accordance with Chapter 506, RSMo.

/s/ Dan Viets

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 38 of 54
IN THE CIRCUIT COURT OF BOONE COUNTY, MISSOURI
DIVISION I

A.B. BY HER NEXT FRIEND
KANDAS HOLMES-BARNES,
Plaintiff,

vs. Case No. 20BA-CV00395

COLUMBIA PUBLIC SCHOOL
SYSTEM, and

CITY OF COLUMBIA, MISSOURI, and

OFFICER TONY ASH,
Defendants.

i i i i i de

FIRST AMENDED PETITION FOR DAMAGES

COMES NOW the Plaintiff by counsel and states the following in support of Plaintiff’s
First Amended Petition for Damages. With the exception of her waiver of jury trial, the Plaintiff
adopts and incorporates herein by reference the allegations in her original Petition for Damages
which was filed with this Court on January 27, 2020, as if fully set forth herein. The Plaintiff
was without counsel when said Petition was filed. However, she now recognizes that she does
not wish to waive her right to a jury trial and asserts that right herein. The Plaintiff by counsel
further states:

INTRODUCTORY STATEMENT

A.B. is a minor. She is an African-American teenage girl, at least 14 years of age and
lives with her mother, Kandas Holmes-Barnes. Both of them have asked this Court to appoint
Kandas Holmes-Barnes as “next friend” of A.B. and both have consented thereto.

The events giving rise to this lawsuit began on or about January 10, 2019 at Smithton

Middle School, which is located at 3600 West Worley Street, Columbia, Boone County,

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 39 of 54
Missouri, where A.B. was a student. Smithton Middle School is part of the Columbia Public
School System which is funded by taxpayers.

On or about January 10, 2019, a fight broke out in the hallway at Smithton Middle
School. School employees misidentified A.B. as a participant in the fight without viewing
existing video footage which proved otherwise. Columbia Police Department Officer Tony Ash,
acting as a school resource officer, responded and arrested A.B. without conducting a proper
investigation and without probable cause. A.B. was handcuffed and hauled away to the Boone
County Juvenile Detention Center, where she was stripped and subjected to various other
humiliations. A.B. was detained there for more than 24 hours.

Once released from detention, she suffered many other problems as a result of the
January 10, 2019 events, including bullying and harassment at school, of which the school knew,
or should have known about, but failed to take remedial action. A.B. has since been engaged in
psychological treatment with a medical professional for severe emotional distress and post-
traumatic stress disorder (PTSD) due to these events.

The Defendants, under color of state law, deprived the Plaintiff of her rights secured
under the Constitution and laws of the United States, specifically the Fourth and Fourteenth
Amendments to the United States Constitution, as well as similar protections guaranteed by
Article I, Section 15 of the Missouri Constitution. The Defendants further refused or failed to
prevent the deprivation of Plaintiff's rights secured under the Constitution and laws of the United
States and the those of the State of Missouri.

This is a human rights and civil rights action brought pursuant to Section 213.065,

RSMo, et seq., and 42 U.S.C. Sections 1983 (as amended) and 1988 to redress the deprivation of

A.B.’s rights. In addition, the Plaintiff also brings claims for False Arrest, False Imprisonment,

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 40 of 54
Intentional Infliction of Emotional Distress and/or Negligent Infliction of Emotional Distress.

JURISDICTION AND VENUE

1. This Court has jurisdiction pursuant to the broad powers granted to this State’s Circuit
Courts by Article V, Section 14 of the Missouri Constitution, which states that, “The circuit
courts shall have original jurisdiction over all cases and matters, civil and criminal.”

2. Venue is appropriate in this Court pursuant to Section 508.010, RSMo, because the
Defendants are located, and all incidents giving rise to this suit occurred, in this Judicial Circuit,
Boone County, Missouri.

PARTIES
3. Plaintiff, A.B., resides in Columbia, Boone County, Missouri.
4. A.B.’s mother and “next friend”, Kandas Holmes-Barnes, also resides in Columbia, Boone
County, Missouri.

5. Defendant Columbia Public School System’s main office is located at 1818 West Worley,
Columbia, Boone County, Missouri 65203. It is taxpayer funded and acted under color of law
through its policymakers, agents and employees in all respects in relation to this lawsuit.

6. Defendant City of Columbia, Missouri is a municipal corporation organized and existing
pursuant to Missouri law. It acted through its policymakers, agents and employees under color
of law in all respects as it relates to this lawsuit. Its main offices are located at 701 East
Broadway, Columbia, Boone County, Missouri 65201.

7. Defendant Tony Ash is a police officer who acted under color of law in this case. He was,
at all times relevant to this lawsuit, employed by the City of Columbia, Missouri Police

Department, 600 East Walnut, Columbia, Boone County, Missouri 65201. He was the School

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 41 of 54
Resource Officer at the time of these events. He is being sued in his individual and official
capacities.

THE FACTS
8. On January 10, 2019, a fight broke out between two students, a European-American girl
and an African-American girl, at Smithton Middle School.
9. A.B. was not involved in the fight as proven by a cell phone video taken by another
student. However, Smithton Middle School employees wrongfully identified A.B. as the
African-American girl involved in the fight.
10. Smithton Middle Schoo! employees either refused to or otherwise failed to view the
available video of the fight and had A.B. arrested as a participant.
11. School resource and Columbia Police Department Officer Tony Ash responded, but he
failed to investigate the incident. He asked no questions before taking action. He then
erroneously and falsely arrested A.B., without probable cause, for fighting.
12. A.B. was handcuffed in front of other students and hauled away in shame to the Boone
County Juvenile Detention Center.
13. A.B. was fingerprinted like a criminal, stripped naked and searched and made to suffer
other humiliations, including being sprayed for lice.
14. A.B. was held at the detention center for over 24 hours until her mother and “next friend”,
Kandas Holmes-Barnes, was able to convince Smithton Middle School employees that A.B. was
not the African-American girl involved with the fight. Ms. Holmes-Barnes managed to do so by
showing the school employees the cell phone video, which had been available to those
employees at the time of the unlawful arrest.

15. A.B. was eventually released and no charges were filed against her.

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 42 of 54
16. However, when A.B. returned to Smithton Middle School, she was subjected to bullying

‘

and harassment by other students. This included being called ‘“jailbird’, “jailbreak” and/or
“Jailbait” to list only a small part of what she endured at the school.
17. School officials and employees knew, or should have known, that A.B. was being
repeatedly bullied and harassed on school grounds but failed to take action, and A.B. was thereby
deprived of the benefits of public accommodation due her by the Columbia Public School
System.
18. A.B. has suffered great emotional distress which stems from the January 10, 2019 events
at Smithton Middle School and all that she has endured thereafter.
19. A.B. has had to undergo professional treatment and medical assistance to try to heal
emotionally from these events.
CAUSES OF ACTION
COUNT I
UNREASONABLE SEIZURE AND ARREST OF A.B.

WITHOUT PROBABLE CAUSE IN VIOLATION OF THE FOURTH AND
FOURTEENTH AMENDMENTS OF THE UNITED STATES CONSTITUTION
AND ARTICLE I, SECTION 15 OF THE MISSOURI CONSTITUTION.
MISSOURI HUMAN RIGHTS ACT (MHRA)

AND
42 U.S.C. SECTIONS 1983 AND 1988
Plaintiff denies the Columbia Public School System’s allegation contained in its Motion to
Dismiss that her MHRA claim is untimely. Plaintiff received a “Notice of Right to Sue” letter
from the Missouri Commission on Human Rights and timely filed this lawsuit within 90 days of

that Notice. (See Exhibit | attached hereto.) Further, for her cause of action against the

Columbia Public School System and Officer Tony Ash in Count I, Plaintiff states:

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 43 of 54
20. Plaintiff hereby incorporates by reference the allegations in paragraphs 1 through 19 as
though fully set forth herein.

21. Defendant Columbia Public School System by and through its policy makers, agents and
employees caused the Plaintiff to be unreasonably seized and arrested without probable cause at
Smithton Middle School on or about January 10, 2019.

22. Onor about January 10, 2019, the Columbia Public School System, by and through its
policy makers, agents and employees, misidentified Plaintiff as being a participant in a fight
involving a European-American girl and an African-American girl. These agents and employees
blatantly disregarded the fact that there was video footage available to them at that time which
showed that Plaintiff was not involved in the fight.

23. The Columbia Public School System’s policy makers, agents and employees persisted in
their erroneous assumption and summoned school resource and Columbia Police Department
Officer Tony Ash to the scene for the purpose of having A.B. arrested, handcuffed, removed
from the school and taken to the detention center.

24. Defendant Officer Tony Ash, acting individually and in his official incapacity, responded
and, without conducting an investigation, arrested and handcuffed A.B. without probable cause,
removed her from the school and caused her to be transported to the detention center. His
actions also caused her to be fingerprinted like a criminal, stripped naked and sprayed for lice at
the detention center.

25. Defendant Columbia Public School System’s agents and employees, as well as Defendant
Officer Tony Ash knew, or should have known, the treatment that Plaintiff was going to be
subjected to at the detention center.

26. Further, the European-American girl who was involved in the fight was not arrested.

i

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 44 of 54
27. Defendant Columbia Public School System’s agents and employees, as well as Defendant
Officer Tony Ash caused the violations of A.B.’s rights by their direct and indirect acts and/or
omissions.
28. Asa direct and proximate result of the acts and omissions of Defendant Columbia Public
School System’s agents and employees, as well as Defendant Officer Tony Ash, A.B. suffered
injury and damages, including having to seek professional medical treatment for her emotional
and psychological injuries.
29, The acts, conduct and omissions of Defendants Columbia Public School System’s agents
and employees, as well as those of Officer Tony Ash, were recklessly indifferent to the rights of
A.B, and warrant an award of punitive damages to punish and deter them and others from acting
in like manner in the future.

COUNT II

LIABILITY OF THE CITY OF COLUMBIA, MISSOURI FOR THE
CONSTITUTIONAL VIOLATIONS AGAINST A.B.

MISSOURI HUMAN RIGHTS ACT (MHRA)
AND
42 U.S.C. SECTIONS 1983 AND 1988
For her cause of action against Defendant, the City of Columbia, Missouri, Plaintiff A.B.
states in Count II:
30. Plaintiff incorporates by this reference the allegations in paragraphs | through 29 as
though fully set forth herein.
31. Defendant, the City of Columbia, Missouri, caused the Constitutional violations suffered

by Plaintiff A.B. by its deliberate indifference to the rights of the citizenry, especially those of

color, with whom the City of Columbia’s Police Officers come in contact.

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 45 of 54
32. Defendant, the City of Columbia, Missouri, has had and continues to have a custom and
practice of unlawfully detaining and arresting citizens, especially those of color.
33. Defendant, the City of Columbia, Missouri, has failed to effectively screen, train,
supervise, discipline, and/or control the people it employs as police officers. Officer Tony Ash’s
arrest without probable cause in this case illustrates the City’s failure in this regard.
34. Further, the City of Columbia, Missouri wrongfully and/or negligently retains officers,
such as Officer Tony Ash, despite their patterns of violating the rights of the citizenry,
particularly those of color,
35. Asadirect and proximate result of Defendant, the City of Columbia, Missouri’s customs,
practices and failures, A.B. suffered injury and damages. The City’s conduct and omissions
warrant an award of punitive damages to punish it and to deter it and others from acting in a like
manner in the future.
COUNT Ii
A.B. WAS DISCRIMINATED AGAINST IN A PLACE OF
PUBLIC ACCOMMODATION AND DEFENDANT
COLUMBIA PUBLIC SCHOOL SYSTEM CAUSED SAID DISCRIMINATION
AND/OR FAILED TO PROTECT HER THEREFROM
MHRA
For her cause of action in Count II against Defendant Columbia Public School System,

Plaintiff A.B. states:
36. Plaintiff A.B. adopts and incorporates the allegations contained in paragraph | through
paragraph 35 as if fully set forth here.
37. Smithton Middle School is part of the Columbia Public School System. It is taxpayer

funded and open to the public. The law recognizes that, as such, it is a “public accommodation”

under Chapter 213, RSMo.

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 46 of 54
38. Plaintiff A.B. is a member of a protected group on the grounds of her race. Chapter 213,
RSMo.

39. Plaintiff A.B. states that she was falsely accused and placed under arrest because of her
race. Here, the white female student who was actually involved in the fight was not arrested or
hauled away to juvenile hall. In contrast, Plaintiff A.B., an African-American, who was not
involved in the fight, was indeed arrested, handcuffed and hauled away to the juvenile detention
center, where she was subjected to further humiliation.

40. The agents, servants and employees of the Defendant Columbia Public School System
singled out A.B. and caused her to be arrested.

41. Further, when A.B. returned to Smithton Middle School after the distressing and
humiliating events of January 10, 2019, she was subjected to unwelcome harassment and
bullying by other students at the school on multiple occasions, which caused her to suffer even
more.

42. Avschool district can be held liable for student-on-student harassment claims. Doe v.
Kansas City, 372 §.W.3d 43, 54 (Mo. App., W.D. 2012).

43. The Columbia Public School System knew, or should have known, about the unwelcome
harassment that A.B. was suffering, but its employees, servants and agents failed to protect A.B.
from the harassment and discrimination.

44. The discrimination caused directly and indirectly by the school deprived A.B. of the use of
accommodations rightfully due to her. It deprived her of an environment conducive to learning.

Her education suffered therefrom.

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 47 of 54
COUNT IV

FALSE ARREST AND FALSE IMPRISONMENT
OF A.B. BY DEFENDANTS

For her cause of action against Defendants in Count IV, Plaintiff states:
45. Plaintiff incorporates by this reference the allegations in paragraphs | through 44 as
though fully set forth here.
46. Defendant Officer Tony Ash intentionally arrested, restrained and detained A.B. against
A.B.’s will without probable cause to believe that A.B. had committed any crime.
47, The conduct of Defendant Officer Tony Ash in exercising dominion and control over
A.B.’s freedom was an intentional restraint of A.B. against her will. Jt was an unwarranted
“seizure” of A.B. without an appropriate investigation.
48. In addition, the Defendant Columbia Public School System’s policymakers, employees
and agents set this chain of events into motion by singling out A.B., and having Officer Tony
Ash arrest her without doing a proper investigation of their own.
49. Asa direct and proximate result of these Defendants’ unlawful detention of A.B., she
suffered damages to her emotional well-being due to the malicious arrest. A.B. has also suffered
severe mental anguish in connection with the deprivation of her rights and this entire incident.
50. The conduct of Officer Tony Ash and the Columbia Public School System’s agents was
outrageous because of their reckless indifference to the rights and well-being of A.B. This
conduct warrants an award of punitive damages to punish these Defendants and to deter them

and others from acting in a like manner in the future.

10

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 48 of 54
COUNT V

INTENTIONAL AND/OR NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
UPON A.B. BY DEFENDANTS

For her cause of action against Defendants Columbia Public School System and Officer
Tony Ash in Count V, A.B. states:
51. Plaintiff incorporates by this reference the allegations in paragraphs | through 50 as
though fully set forth herein.
52. Defendants Columbia Public School System’s agents and employees and Officer Tony
- Ash, acting individually and together in concert with each other, intentionally or recklessly
caused extreme emotional distress to A.B., to the point that she required, and continues to
require, professional medical help for her condition.
53. The acts of Defendants Columbia Public School System and Officer Tony Ash of singling
A.B. out to be arrested without investigation, failing to watch the available video, then arresting
her without probable cause, physically restraining her in handcuffs and hauling her away in front
of her peers naturally caused A.B. emotional distress, especially in light of the fact that the
European-American girl who was actually involved in the fight was not subjected to similar
treatment.
54. Columbia Public School System’s agents and employees and Officer Tony Ash failed to
prevent this emotional damage to A.B.
55, Each act or omission of these Defendants, as previously described, was extreme,
outrageous, shocking to the senses and deliberately indifferent to the health and welfare of A.B.
and posed a recognizable, unreasonable risk of causing A.B. severe emotional distress.
56. Defendants Columbia Public School System and Officer Tony Ash knew, or should have

known, that their conduct posed an unreasonable risk of causing A.B. severe emotional distress.

11

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 49 of 54
57. A.B. suffered and continues to suffer severe emotional distress as a result of the
Defendants’ conduct. Such distress is medically diagnosable and is sufficiently severe to be
medically significant.

58. The conduct of Defendants was outrageous because of their reckless indifference to the
rights of A.B. so as to warrant an award of punitive damages to punish Defendants and to deter
them and others from acting in a like manner in the future.

WHEREFORE, Plaintiff demands judgment against each Defendant and requests an
award of compensatory damages, including payment for Plaintiffs medical bills with interest as
allowed by law, as well as punitive damages, attorney fees and the cost of litigation, and for such
further Orders as the Court deems appropriate and just.

Respectfully submitted,

/s/ Dan Viets

DAN VIETS

Missouri Bar Number 34067
15 North Tenth Street

Columbia, MO 65201
(573) 443 6866

DanViets@gmail.com

Attorney for Plaintiff

A.B. by her Next Friend

Kandas Holmes-Barnes

Proof of Service
The undersigned certifies that a complete copy of this document and Exhibit 1 were filed via

the Missouri eFiling System for electronic delivery to all attorneys of record on April 8, 2020 and
will be served on the City of Columbia and Officer Tony Ash in accordance with Chapter 506,
RSMo.

/s/ Dan Viets

12

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 50 of 54
Missourt DEPARTMENT OF LABOR AND INDUSTRIAL RELATIONS

MISSOURI COMMISSION ON HUMAN RIGHTS

 

Martha Staggs ALISA WaRREN, PH.D,

MicHAeEL L, Parson Anna S, Hul
GOVERNOR D&PARTMENT DIRECTOR COMMISSION CHAIRPERSON EXeCuTiVe DIRECTOR

Kandas H Imes Barnes

   

Columbia, MO 65201

NOTICE OF RIGHT TO SUE

RE: — Kandas Holmes Barnes vs. COLUMBIA MISSOURI PUBLIC SCHOOL DISTRICT ET AL
P-05/19-04706

The Missouri Commission on Human Rights (MCHR) is terminating its proceedings and issuing this notice of your
right to sue under the Missouri Human Rights Act because you have requested a notice of your right to sue.

This letter indicates your right to bring a civil action within 90 days of the date of this notice against the
respondent(s) named in the complaint. Such an action may be brought in any circuit court in any county in which
the unlawful discriminatory practice is alleged to have occurred, but it must be brought no later than two years
after the alleged cause occurred or its reasonable discovery. Upon issuance of this notice, the MCHR is
terminating all proceedings relating to the complaint. No person may file or reinstate a complaint with the MCHR
after the issuance of a notice of right to sue relating to the same practice or act. You are hereby notified of your
right to sue the Respondent(s) named in your compliant in state circuit court. THIS MUST BE DONE WITHIN 90

DAYS OF THE DATE OF THIS NOTICE OR YOUR RIGHT TO SUE IS LOST.

You are also notified that the Executive Director is hereby admnistratively closing this case and terminating all
MCHR proceedings relating to it. This notice of right to sue has no effect on the suit-filing period of any federal
claims. This notice of right to sue is being issued as required by Section 213.111.1, RSMo, because it has been
over 180 days after the filing of the complaint and MCHR has not completed its administrative processing.

Respectfully,

 

Pog
a

Alisa Warren, Ph.D. October 30, 2019
Executive Director Date
Cc: additional contacts listed on next page
CI CJ CI C)
3315 W. TRUMAN BLVo. 111. 77H STREET, Suite 903 P.O, Box 1300 1410 GENESSEE, Suite 260 106 ArixuR STREET
P.O, Box 1129 St. Louis, MO 63101-2100 Ozark, MO 65721-1300 Kansas City, MO 64102 Sue D
JEFFERSON City, MO 65102-1129 PHONE: 314-340-7590 FAX: 818-889-3582 SIKESTON, MO 63801-5454
PHONE: 573-751-3325 FAX: 314-340-7238 FAX: 873-472-5324
tals with disabilities.

Missousl Conuulssion on Ituman Rights is an equal opportuntty cmployer/program. Auxillary aides and services are available upon request to tnidteldu

Case 2:20-cv-04061-MDH Document1-> Med 04/17/20 Page 51 of 54
DanViets@gmail.com Dan Viets Attorney and Counselor
15 NORTH TENTH STREET COLUMBIA, MISSOURI 65201 — (573) 443-6866/FAX (573) 443-1413

April 8, 2020

Circuit Clerk’s Office
Civil Division

Via Missouri eFiling System
Re: A.B, by her Next Friend Kandas Holmes-Barnes v. Columbia Public School System, ef al.

Dear Madam or Sir:

I represent the Plaintiff in the above-referenced case. We are hereby requesting preparation
of summonses and service of the summonses and Petitions on the following additional
Defendants, whose addresses are provided below:

The City of Columbia, Missouri

c/o City Counselor Nancy Thompson
City Counselor’s Office

701 East Broadway

Columbia, MO 65201

And
Officer Tony Ash
c/o Columbia Police Department
600 East Walnut St.
Columbia, MO 65201
We are paying the fee herewith via the Missouri eFiling System. Thank you.
Sincerely,
/s/_ Dan Viets
Dan Viets
MoBar No. 34067

DV: mb

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 52 of 54
From: Missouri Courts eFiling System

To: issouri Co eFiling Subscriber

Cc: David Baker; 13th Judicial Circuit (Boone County)

Subject: eNotice - 20BA-CV00395 - ANIYIA Z BRANTLEY V COLUMBIA PUBLIC SCHOOL SYSTEM, Boone County - Circuit
Court

Date: Thursday, April 16, 2020 03:18:07 PM
Attachments: mo-ecf-msq.xml

ELECTRONIC NOTICE OF ENTRY
(Supreme Court Rule 74.03)
Boone County - Circuit Court
705 E Walnut, COLUMBIA, MO

CASE NO: 20BA-CV00395 - ANIYIA Z BRANTLEY V COLUMBIA
PUBLIC SCHOOL SYSTEM

MOBAR: 30347
TO: David Stephen Baker
YOU ARE HEREBY NOTIFIED that the court duly entered the following:

Filing Description Text * Last

Date Activity

4/16/20 Order Plaintiffs Motion to Substitute filed 4/16/20

9:38 AM 4/6/20 is reviewed and granted. 12:11 PM
JHJ/I (gw)

Associated Entries

4/6/20 12:53 PM - Motion Filed
Plaintiffs Motion to Substitute the City of Columbia,
Missouri as a Defendant and to add School Resource
Officer Tony Ash as a Defendant; Electronic Filing
Certificate of Service.

NOTE: You MUST be a registered user in order to view the documents. If you
have not registered for eFiling click here. If the case or document contains
confidential information, you may not be able to view the case or document through
the links provided. In the event you are unable to view information electronically, the
court will provide a paper copy for your records.

“If "None entered at this time" displays in the text field, the court has not entered any
text on this entry. The first 2000 characters of text is provided in this eNotice. To see
additional information about the entry made by the court, see Case.net.

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 53 of 54
Click to access the Missouri eFiling System

This e-mail is auto generated. Please do not respond. If you have a concern with
your filing, please contact the court. If you need technical assistance, please
contact the Office of State Courts Administrator Help Desk by e-mail at

osca.help.desk@courts.mo.gov or toll-free by phone at at 1(888)541-4894, 7:30 a.m.
to 5:00 p.m., Monday through Friday, excluding state holidays.

Case 2:20-cv-04061-MDH Document 1-2 Filed 04/17/20 Page 54 of 54
